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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _x

JOSEF VOLMAN,                                                 Civil Action No.


               Plaintiff,                                     1 :21-cv-04697-WFK-SJB

       -against-

381 7TH A VENUE WINE BAR LLC                                  NOTICE OF VOLUNTARY
d/b/a BROOKVIN and ROBERTO Q                                  DISMISSAL WITH PREJUDICE
LABRADOR JR,

_ _ _ _ _Defendants.
         _ _ _ _ _ _ _ _ _ _ _x

       Plaintiff, JOSEF VOLMAN, by and through undersigned counsel and pursuant to Rule

41 (a)(l )(A)(i) of the Federal Rules of Civil Procedure, hereby voluntarily dismiss this action with

prejudice against all named Defendants.

       Dated : Febrna1y 14, 2022




 By:
       Gabriel A. Levy, Esq.
          Attorney for Plaintiff
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                                                               SO ORDERED.
cc: Via CM/ECF

                                                                        s/ WFK
                        Dated: Febrnaiy 14, 2022               HON. WILLIAM F. KUNTZ, II
                                                               UNITED STATES DISTRICT JUDGE
                               Brooklyn, New York
